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 1

 2   SUPREME COURT      OF THE STATE OF NEW      YORK

 3   COT'NTY OF NEW     YORK: TRIAL      TERM PART L7

 4                                                                           x
 5   REYNA ARROYO,

 6                                 Petitioner,
 7                against
 I   NYC BOARD/Onpt. OF EDUCATTON,
 9                                 Respondent.
10                                                                           x
     Index No.   LOOT   AL-2OL8
11
                                   November 27 , 2OLB
L2                                 60 Centre Street
                                   New   York, New York   10007
13

L4   B E F O R E:       THE HONORABLE SHLOMO      S.    HAGLER,   .fustice
15   APPEARANCE               S:
16   REYNA ARROYO
     Petitioner Pro Se
L7   651 Tilden Avenue
     Teaneck, New Jersey      07 666
18
     NEW YORK   CITY I,AW DEPARTMENT
19   Office of the Corporation Counsel
     100 Church Street
20   New York, New York 10007-2601
     BY : AT,A}IA R. MILDNER, ESQ .
2L
     ALSO PRESENT:      MarieJ.la Torres,
22                      Official. Spanish Interpreter
23

24

25
                                Terry-Ann VoJ.berg, CSR, CRR
26                              Officia1 Court Reporter
         Terry-Ann VoJ.berg, CSR, CRR, Official Court Reporter
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 1                              Proceedings
 2                 THE   COITRT: Good morning. Tlelcome.         Iam
 3    Judge Hag1er.
 4                 I believe we have a Spanish interpreter here
 5                 THE INTERPRETER:      Yes   .


 6                 THE   COURT: P1ease state your       narne.

 7                 THE INTERPRETER: MarieJ-J-a      Torres, Court
 I    Interpreter,     Spanish.
 9                 THE   COttRT: Thank you so much for helping
10    out today.
11                 THE INTERPRETER: Yourre we]-come.
t2                 THE COttRT: Your narne, please.
13                 MS. R. ARROYO: Reyna Arroyo.
t4                 THE COURT: Ms Arroyo, are you ready to
15   proceed today?
t6                 MS. R.   ARROYO:     Yes, sir, I am ready.
t7                 THE COURT:      Counsel, pJ-ease state your      n€rme.

18                 MS. MILDNER:       Alana Mildner, New York City
19    Law Department.
20                 THE COURT:      Are you ready to proceed today?
2L                 MS. MILDNER:      Yes, your Honor.
22                 THE COI'RT    I have read the papers. This is
23   an Article      75 proceeding wherein Ms. Arroyo
24                 THE INTERPRETER:       I arn sorry, sir, I lost
25    t,rack
26                  COURT: This is an ArticJ-e 75 proceeding
                   THE
     Terry-Ann Volberg, CSRf CRR, Official Court Reporter
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 1                         Proceedings
 2    wherein Ms. Arroyo is seeking to vacate the
 3    determination by the arbitrator.  The arbitrator found
 4    the specifications by the respondent to be mainly
 5    sustained. The penal-ty unfortunately for Ms. Arroyo
 6    was termination.
 7                Ms. Arroyo is chal.lenging both the
 8    determination in the specifications, the findings of
 9    fact with regard to the specifications, and, more
10    importantly, the penalty which was termination.
11                I have received
L2                THE INTERPRETER:    I'm having a hard time
13    hearing you.
L4                THE  COttRT: I wiJ.l speak louder.
15                I have received the papers in this case,      and
16    nolrr we are ready to proceed.
L7                Ms . Arroyo, do you want to teJ.J. me why I

18    should vacate the arbitrator's determination both as to
19    the findings and the penal.ty?
20               Whenever you are ready, Ms. Arroyo.
2L                MS. R. ARROYO: I have here an oral argument
22   which I would like to read. If you will alJ.ow me to, I
23   have my friend and my son. Perhaps one of them could
24   read this.
25                  COttRT: She wants her son to read it?
                  THE
26              THE INTERPRETER: Yes, or her friend, in the
     Terry-Ann VoJ-berg', CSR, CRR, Official Court Reporter
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 1                          Proceedings
 2    back.
 3               THECOURT: I prefer that Ms. Arroyo speak
 4    for herself, I think.
 5              THE INTERPRETER: It's written in English.
 6    The document she' s holding is written in English.
 7               THE   COITRT: I assume if itrs written in
 8    English you can read it.
 9               MS. R. ARROYO: Okay. I may read it.
10               THE                allow you some J-eeway.
                       COITRT: I will
11    Normally I dontt allow prepared written speeches, but
L2    since you are not represented by counsel, I will give
13    you a J.ittle leeway.
t4               The reason that I have oral argrrment is not,
15   merely to reread your papers. I have read your papers.
L6   I read it.  I know what your papers say. I know what
L7   the respondentf s papers say. I do my homework. I read
18    the determination by the arbitrator.    I am ready to
19    proceed.
20               I want you to real.J.y highlight some of your
2L   main arguments and persuade me why I should vacate the
22   arbitratorts determination. ff you want to read, I
23   wil-I allow you to read becauser BS I said earlier, I
24   wilJ. give you a Iot of leeway because you are not
25    represented by          . This is important, an
                       counseJ-

26    irnportant decision for you, and I wiJ-J. accommodate you
     Terry-Ann Volberg, CSR, CRR, Official. Court Reporter
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 1                        Proceedings
 2    as much as I can.
 3              MS. R. ARROYO: So then I shouldn't read it,
 4    right?
 5              THE COttRT: Sorry? I didn ' t say that. V{hat
 6    I said was, I prefer if you highlight the major points.
 7    If you would J.ike to read, I will accotnmodate that. I
 8    am giving you a choice. I am not restricting you.
 9              I want you to have your opportunity here in
10   court, it's going to be one time, and I want you to
11   make the most of that one time.
L2              MS. R. ARROYO: Okay. I am going to read
13    ir.
t4              Thank you r your Honor , for this opportunity
15   to address the unjust penal-ty handed down at my 3020-a
16   by Arbitrator Lisa PolJ-ack.
L7              The basis of the petition is essentially
18    three arguments. The first is a procedural argrrment
19    that the New York City Department of Education
20              THE COURT: You have to say it slower and
2L   you have to pronounce it a J-ittl-e better. I understand
22   what you are saying, but I don't have to tlpe it.
23             MS. R. ARROYO: New York City Department of
24   Education circumvented and skirted procedural
25    safeguards ttrat are in pJ.ace before a teacher is given
26    any penalty.
     Terry-Ann Volberg, CSR, CRR, Official   Court Reporter
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 1                          Proceedings
 2               Second is the apparent
 3                 COURT: You are doing it again.
                 THE
 4             MS. R. ARROYO: -- is the apparent improper
 5   motivations of the Department inferred from --
 6               THE INTERPRETER:    Inferred.
 7               THECOttRT: Letrs stop for a second.
 I             Ms . Arroyo, what you are saying is

 9    incomprehensible. I canrt understand you. You are
10    saying very big words that you are having difficuJ.ty
11    enunciating, and it's actually blurring your arguments.
L2    The reporter canrt take it down. I canrt understand it
13    as weIl. I understand the first argrument, but the
L4    second one, f didnft hear a word you said.
15              I normally don't do this. If you !{ant your
16    son to read it, I wiJ.J. allow your son to read it if you
L7    want to give me the highlights,but we are not making
18   progress this way because I dontt understand it.
19               Counsel.
20               MS. MILDNER: Your Honor, f would ask that
2t    somebody  else read it, the interpreter, perhaps, or
22    that Ms . Arroyo submit it.
23               THE COttRT: Do you want the interpreter to
24    read it? How is that? Flould you like to do that?
25               THE INTERPRETER: Okay.
26               THECOttRT: This is not a bad idea.
     Terry-Ann Volberg, CSR, CRR/ OfficiaL Court Reporter
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 1                        Proceedings
 2               THE INTERPRETER: Second     is the apparent
 3    improper motivations of the Department inferred from
 4    inconsistencies, impJ.ausibiJ.ities, and contradictions
 5    in the record.
 6              Third is objective data which shows that I Erm
 7    actually an effective teacher.
 I              The procedural errors are rampant in this
 9    case starting with the vioJ.ation of Education Law
10    3020-a(2) (a) with the omission of an Executive Session
11    and vote on probable cause by the PaneJ. For Educational
L2    PoJ.icy. Arbitrator Pollack was appointed to hear this
13    case pursuant to ED Law 3020-a, but the Department
L4    never brought my charges to an Executive Session for       a

15   vote on probable cause.
16               The Department insists   that the Department
L7   gave the ChanceJ-lor al'l the duties of the school- board.
18   Okay, then the ChanceJ-lor should have heJ-d an Executive
19   Session and vote on ProbabJ.e Cause as mandated by the
20    Iaw.
2L               She, Former ChancelLor Carmen Farina, never
22   did this.   Thus, Arbitrator   PolJ.ack had no
23    subject-matter jurisdiction   to make any decision in     my

24    case.
25               ,Judge Desmond Greenruled in the Article 75
26    Petition brought by Rosal-ie Cardinale in Richmond
     Terry-Ann VoJ.berg, CSR, CRR/ Official. Court Reporter
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 1                          Proceedings
 2    County Supreme Court, Index Number 85L65/20L7 on
 3    March 9, 20L8, that    'f   The Court of Appeal-s speaking on
 4    the necessity of teachers tenure stated: Tenure is           a

 5    J-egisJ.ative expression of a firm public policy
 6    determination that the interests of the pubJ.ic in the
 7    education of our youth can best be served by a system
 8    designed to foster academic freedom in our schools and
 9    to protect competent teachers from the abuses they
10    might be subjected to if they could be dismissed at the
11    whim of their supervisors. In order to effectuate
t2    these converg'ent purposes, it is necessary to construe
13    the tenure system broadly in favor of the teacher, and
t4    to strictly poJ.ice procedures which might result in the
15    corruption of that system by the manipulation of the
L6    requirements for tenure. rr Ricca v. Board of Education,
L7    47 NY2d 385, 391 (1979).
18              .Tudge Green added, trThe DOEts      failure to   make

19    a finding of probable cause and adhere to the
20    procedural. protections guaranteed to petitioner in
2L    Education Law 3020-a violates petitionerts due process
22   rights and violates New York's strong pubJ.ic policy
23   protecting the integrity of the tenure sys tem .      rr



24   Decision, p. 10.
25               'rThis Court finds the DOE's interpretation        of
26    the statutory framework, even had they presented
     Terry-Ann Volberg, CSR, CRR, Official. Court Reporter
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 1                        Proceedings
 2    evidence permitting such deJ-egations, runs afoul of the
 3    clear legisJ-ative intent. The concentration of aII
 4    disciplinary authority into the hands of a single local
 5    administrator creates the very rarbitrator imposition
 6    of formal decisionr the J.egisJ-ature sought to prevent
 7    when enacted Education Law 3020-a. (HoIt v. Board of
 I    Ed of ?ilebutuck Central School Dist., 52 NY2d 625, 632,
 9    t1981J . (Decision, p. LL-L2I
10              iludge Green then granted  . Cardinalers
                                             Ms

11    Verified Petition and vacated her termination. I
t2    submitted the exact s€rme Motion to Dismiss For Lack of
13    Subj ect-Matter Jurisdiction in my hearing, your Honor,
L4    and, therefore, I ask you to do the same.
15              It is c].ear from the record that the
16    circumstances and facts presented in this matter did
L7    not deserve any kind of penalty. Arbitrator Lisa
18    PoJ.lack, Esq. was far from neutral in the 3020-a
19    arbitration.  She neglected to address the fact that        my

20    prior record of teaching for 19 years was exemplary,
2L    and I had never been discipJ.ined before.
22              Her decision to terminate my employment is
23   based solety on lhe nonfinal opinions of the Principal.
24    and Assistant Principa.I in and observations.    lfhat is
25    competency? To Arbitrator   PolJ.ack, who wiJ.lingly and
26    reckJ.essly refused to honor my tenured status,
     Terry-Ann Volberg, CSR/ CRR, Official    Court Reporter
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 1                             Proceedings
 2    incompetency is anything that the principal said it
 3    was. She terminated me on hearsay al.one which is not
 4    permitted in these proceedings.
 5                The Department did not bring in any grades of
 6    students or outcomes of student performance. Thus,
 7    there is no evidence that I could not teach my
 I    students. In factr my student witnesses testified that
 9   I made a very big impact on their learning. Pollack
10   !{as not interested. She was predisposed to terminate
11   me from the first day of hearings. I had no voice.
L2                Daniel-son mandates that an observation is a
13   minimum of 15 minutes.            What can an administrator see
t4   in 15 minutes of a J-esson? Very J-ittle. As I wrote in
15   my Verified Petition, observation reports are only
16   opinions. There are no facts or data in observation
L7    reports. This was the ruling in the Kings County case
18    cal.J.ed Elentuck v. Green cited in my petition.
19                Arbitrator     PoIIack ignored the mandates for
20    'rjust cause, strict scrutiny as a standard of review,
2t    and progressive discipliner" and she also showed no
22    concern that the Department did not reach the high
23   standard for a preponderance of the evidence in this
24   matter.
25             One more point I would like to make here
26   today. I was charged with 11 observations. Assuming
     Terry-Ann   VoJ.berg'   , CSR,   CRR   / Off icial- Court Reporter
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 1                          Proceedings
 2    each observation l-asted 20 minutes as an average, over
 3   the three charged years I was assessed for 120 minutes
 4   by the administrators who wanted to terminate my job,
 5   but three years of teaching is more than 222 .OOO
 6   minutes . Therefore, your Honor, Arbitrator PoIIack
 7    terminated my employment because of the hearsay,
 I    nonfinal- opinions from 120 minutes. Does this make
 9    sense? No, it does not.
10              Arbitrator PoJ.J-ack used only the biased
11    opinions and hearsay statements of the administrators
t2    over the straightforward factual information given in
13    testimony by me and my witnesses. This is
t4    unconscionable and cause to vacate the baseless penalty
15    in favor of a J-ess extreme penalty or none at a1l.
t6              Thank you r your Honor.
t7               THE COttRT :Okay. Thank you .
18              Ms. Arroyo also handed me a written version
19    of the oral ar€tument which I read. I listened to it.
20    I believe counsel received a copy as well, correct?
2L              MS. MILDNER: Yes, your Honor.
22               THE     COURT:   Ms   . Arroyo, have you concLuded
23   your   argrument?
24               MS. R. ARROYO: I said everything here.
25               THECOttRT: Okay.
26              Counsel, opposition, please.
     Terry-Ann Volberg, CSR/ CRR, Official Court Reporter
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 1                           Proceedings
 2                 MS. MILDNER: Your Honor, Ms. Arroyo has not
 3    shown that Education Law 3020-a was violated in any way
 4    at her hearing.
 5                 Regarding the procedural argument, I beJ.ieve
 6    it was Exhibits 5 and 6 to my ansvrer
 7                 THE INTERPRETER: Cou1d she       go slower for
 I    me?

 9                 THE   COURT: Speak a littJ.e slower.     It has
10    to be interpreted as weJ.I.
11               MS. MILDNER: I be]-ieve it was Exhibits          5

L2    and 6 to respondentrs ansrver which contained two
13    deJ.egation memoranda. One of those menorandum        was

L4    delegating authority from the ChanceJ.lor to the
15    Community School Superintendent, Ms. Nunez, the other
16    memorandum    --
L7                 THE INTERPRETER:       I canrt keep up with here.
18                 THE   COURT: You really have to slow down a
19    Iitt1e.
20                 THE INTERPRETER: Can      I have the last portion
2L    read back?
22                 THE COttRT: P]-ease.
23                 (The testimony as requested     was

24         read by the reporter. )
25              MS. MILDNER: -- was deJ-egating authority
26    from the Community Superintendent to principals.       So

     Terry-Ann VoJ-berg , CSR, CRR, Of f icial. Court Reporter
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 1                        Proceedings
 2    here Principal Timothy Sigerson did have the authority
 3    to bring charges.
 4              Addressing any arguments regarding any sort
 5    of improper motivation, petitioner has not demonstrated
 6    that there was any individual who was out to get
 7    petitioner.  There !{ere five administrators who
 8    testified at the hearing, two principal.s, two assistant
 9    principal-s, and a fieJ-d supervisor from the ATR
10    Reserve, and all of them testified consistently
11    regarding Ms . Arroyo's classroom performance.
t2              Although Ms. Arroyo states that Arbitrator
13    PolJ.ack wanted to terminate petitioner from the first
L4    day of the hearing, there is nothing in the record to
15    indicate any bias on the part of Arbitrator Pollack nor
16    has petitioner pointed to anything that would show that
t7    Hearing Officer PolJ.ack administered the hearing in any
18    way other than a fair   way.
19              Then regarding petitioner's     third point,
20    under the evaluation system that the Department of
2L    Education uses, informal obserwations can be a minimum
22   of 15 minutes, and depending on the option that a
23   teacher chooses, teachers are observed six times per
24   year. So there is nothing that was done in observing
25   Ms. Arroyo that was against state J.aw or the procedures
26    of the Department of Education.
     Terry-Ann VoJ-berg, CSR, CRR, Official- Court Reporter
                                                                     L4


 1                        Proceedings
 2              Moreover, the penal-ty does not shock the
 3    conscience. Ms . Arroyo engaged in a pattern of
 4    ineffective instruction over the course of three school
 5    years. Additionally, upon being provided with
 6    professional development opportunity, Ms . Amoyo r s
 7    teaching failed to improve to the leveJ. that would be
 8    necessary for her to be an effective chemistry teacher.
 9    Therefore, the penal-ty of termination is appropriate.
10              I have nothing eJ-se/ your Honor, unless the
11    Court has questions.
L2              THE COttRT: Ms . Arroyo, do you want to say
13    anything else as the last word? You get rep1y. Do you
L4    want to say anything else in reply?
15              MS. R. ARROYO: Yes.
16              The three years of teaching that I had, it
L7    was the same person who observed me 15 minutes. fhat
18    person would go in, would go out.      She didn' t know what
19    happened before, what took place after those 15
20    minutes, the results of my students. At the end of the
2L    year my students' end results were good including that
22    they passed the regents exans. That means that
23    somebody was teaching' because regents  I did not
24    grade the regents, somebody else graded the regents.
25              THE COttRT: Have you completed your
26   presentation?
     Terry-Ann Volberg, CSR, CRR, Official    Court Reporter
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 1                         Proceedings
 2                MS. R. ARROYO: Yes .
 3                  COttRT: Thank you.
                  THE
 4              Stay here, pJ-ease. The parties have been
 5    waiting for a decision on this matter. I am going to
 6    render a decision novr.
 7              Let' s set forth the standard by which the
 8    Court decides these tlpe of cases. This is a
 9    proceeding brought under Article 75 of the CPLR. There
10    are narrow grounds to vacating an arbitratorrs award.
11               Since the arbitration was mandatory, it also
L2    impJ-icates due process requirements under Article 78 of
13    the CPLR which provides a secondary layer of protection
L4    in that the award cannot be arbitrary or capricious or
15    irrational under the circumstances. The Court must
16    take into consideration the penalty by viewing it as
L7    whether it is shocking to the conscience.
18                Petitioner essentially has three argrrments.
19    The first   one is a procedural argument. Essential-ly
20   petitioner    argues as she did before the arbitrator
2t                               ThaI she?
                  THE INTERPRETER:
22             THE COITRT: The petitioner arg"ues as she did
23   before the arbitrator that the principal- did not have
24   authority to propound charges, specifications under
25   Education Law 3020-a. The arbitrator      denied it
26    indicating that Educational Law Section 2590-h provided
     Terry-Ann VoJ-berg, CSR, CRR, Official Court Reporter
                                                                L6


 1                        Proceedings
 2    for delegation by the ChancelJ.or to the district
 3    superintendent who then delegated authority to the
 4    local- school principals.  In the record counsel
 5    indicated such deJ.egation memoranda was presented to
 6    both the arbitrator as well as this Court that provides
 7    for the requisite delegation of duties and
 I    responsibilities from the ChanceJ.J-or, to the
 9    superintendents, to the J-ocal- schooJ. principal.
10              I have read the decision and order of Justice
11    Desmond Green from Supreme Court County of Richmond
L2    which was dated t'larch 29, 20L8. ilustice Green, for
13    one, did not indicate in the decision whether or not
L4    the requisite memorandum was attached to the petition
15    or actualJ-y the anslver to the petition which would
t6    satisfy Educational. Law requisites. Moreover, there's
t7    been countless decisions within the First Department, f
18    am notfamiliar with decisions of the Second
19    Department, that are contrary to the deternr:ination
20              THE INTERPRETER:    That are what, sir?
2t              THE COTRT: -- that are contrary to the
22    determination of ilustice Green sitting in the Second
23    Department in Richmond County. My recollection is that
24    I beJ.ieve therets at least one AppelJ.ate Division
25    decision that has reviewed that issue in the First
26    Department. It was one of my decisions that was
     Temy-Ann Volberg, CSR, CRR, Officia1 Court Reporter
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 1                               Proceedings
 2    affirmed wherein I ruled that there can be delegation
 3    of authority from the Chancellor to the superintendent
 4    directJ-y to the local school principals  I canrt
 5    remember the nanne of the decision.          They affirmed    my

 6    decision.     There are many of my colleagues here in          New

 7    York County that have ru]-ed in that manner. That issue
 8    is           a disputed issue. Wtren I first started
           no J.onger
 9    doing these Article 75s about four or five years ago
10    there were real.ly no decisions on point. Now there
11    have been a mu].titude of decisions aJ-J- concurring that
L2    such duties and responsibiJ.ities can be deJ.egated by
13    the Chance].lor.
L4                 Letr   s   move on to the second ar€tument of Ms.
15   Arroyo.      EssentialJ-y the second argrrment challenges the
16   findings of the arbitrator.   The arbitrator in a

L7   J.engthy decision reviewed the witnesses credibility of
18   both petitionerrs witnesses of which there were many, I
19   believe six or seven, and five witnesses from the
20   respondent. The arbitrator reviewed and discussed each
2t   of the respective witnesses, and found that
22   petitionerrs       witnesses lrere testifying    truthfully,   but
23    rea1J-y had no abiJ-ity to gauge the competency of Ms.
24   Arroyo's pedagoefy. In contrast, the arbitrator found
25   that the respondent's witnesses were properly trained,
26    did not exhibit or evince any bias towards Ms . Arroyo,
     Terry-Ann Vo1berg, CSR/ CRR, OfficiaL Court Reporter
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 1                          Proceedings
 2    citing an    ex€rmp1e wherein   others that were similarly
 3    situated were found to be effective and competent
 4    teachers .
 5                 The case law is very cJ.ear that this Court,
 6    even if it wished to do sor cannot substitute its
 7    judgrment, and review and change cred.ibility      findings of
 8    an arbitrator.
 9                 Ms. Arroyo in her petition    directJ.y
10    challenges the arbitrator's ability to be impartial,
11    and states that the arbitrator had bias towards her.
L2    The standard to show bias is a very high one. The
13    petitioner    faiJ.s to do so presenting no evidence of
L4    bias other than
15                 THE INTERPRETER:      I would need the last
16    portion read.
L7                 THE COURT: Read it back.
18              (The testimony as requested was
19         read by the reporter. )
20              THE COURT: -- other than a determination
2L   that terminates her employment. The very arbitration
22   decision which is negative and does not support your
23   position is insufficient al-one to demonstrate bias. fn
24    other words, the mere fact that the arbitrator ruJ.ed
25    against you does not give rise to an al.legation of
26    bias.
     Terry-Ann Volberg, CSR, CRR, Official. Court Reporter
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 1                          Proceedings
 2              I just want to review the specifications, the
 3    charges against Ms . Arroyo. They reflect three
 4    different years, 2OL4 to '15, 2OLS to 2OL6t 2OL6 to
 5    2OL7. They span a period of November L2, 2OL4,         2OL5,
 6    2OL6, and last, t'Iay 22ndt 2OL7.
 7              There are 11 dates wherein the respondent had
 I    charged the petitioner with faiJ.ing to properly,
 9    adequately, and effectively plan and execute lessons on
10    those dates. Iile are not tal.king about one isolated
11    incident, we are not tal-king about two, we are not
L2    talking about one year or even two years, vre are
13    talking about three years of observations spread over
t4    11 different   dates, and three years of teaching that
15    was reviewed and observed.
L6              That brings me to the third point of Ms.
L7    Arroyo, that one cannot properly judge an individual-
18   with 15 minutes of observations. This is hardly         15
19   minutes. This is a three year span of time.
20    Therefore, this Court cannot, even if it wished, change
2L    the factual- determinations by the arbitrator, and the
22    credibiJ.ity findings as to the J.evel of competence
23    during that J-engthy period of time.
24                Lett s move on to the rea]. issue.   The
25   petitioner  strenuously argues that the penalty shocks
26    the conscience and should be vacated.
     Terry-Ann Volberg, CSR, CRR, Official Court Reporter
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 1                        Proceedings
 2               I just want to read a portion of the
 3    arbitration award by the arbitrator with regard to the
 4    penal.ty. I'm g'oing to read the paragraph just above
 5    penalty because it gives background. r'Having found
 6    that the Department has proven respondent' s
 7    incompetency, I must now look at remediation efforts.
 I    As set forth above, the evidence introduced documented
 9    professional development meetings, training, action
10    pJ.ans I some coaching offers, and feedback and

11    suggestions from numerous formal. and informal
t2    observation.   As of 2OL6 through 20L7, respondent had
13    not improved in any appreciabJ.e !ray. AlJ. of these
L4    admonitions and opportunities were designed to improve
15    respondentr s teaching performance. The respondentr s
16    own testimony c1earJ-y estabJ.ished that she knew and
L7    understood that the department was concerned with her
18   pedagogry, and that they wanted her to foJ.J.ow their
19    suggtestions to better her pedagogy. It is also clear
20    that respondent was aware of the consequences if she
2L    did not improve her pedago€try. "
22              I'Despite alJ. of the efforts t,o warn her that
23    she was not actually teaching effectiveJ-y, she
24   persisted in ignoring administration and supervisorsrrl
25   it should be suggestions, the tlpo says suggrests, "and
26    continued in teaching J.essons improperJ-y. "
     Terry-Ann Volberg, CSR, CRR, Official Court Reporter
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 2              I 'm going to skip to the last J.ine , somy /
 3    the last paragraph on page 46. rrHowever, I have
 4    reviewed the observations and find the same pedagogical
 5    weaknesses again and again.  I find that the respondent
 6    adamantly resisted any suggestion that her practice
 7    needed improvement. I find that the department made
 8    significant efforts to provide respondent with
 9    opportunities for professional deveJ.opment, and I find
10    the respondent consistentJ.y and adamantly resisted
11    those efforts.
L2              I{hile respondent argues there is no
13    progressive discipline here, she was made aware on
L4    several occasions in the past three years that
15    discharge was a possibiJ.ity if she faiJ.ed to improve
L6    her pedago€ty.
L7               I believe on the evidence before me that
18    there is no prospect that respondent could improve her
19   performance to an effective leve1 if she is offered
20   further remediation. She has not improved over three
2L   years despite being under a TIP alJ- three years. Her
22    testimony showed that she does not beJ.ieve that there
23    is any problem to her pedagogy, and there is no
24   indication that she will fol]-ow instructions under the
25   past TIPs.
26              If she were going to change, she would have
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 2    done so when she was put on notice that she        was

 3    vuJ.nerabJ-e when she received TIP, and she would have
 4    engaged in substantive discussions with administrators
 5    in post-observation conferences. She would have
 6    submitted lesson pJ.ans for review with the
 7    administrators which she did not.
 I              Termination is not a disproportionate penalty
 9    when measured against the seriousness and harm to the
10    chiJ-dren. I do not believe that a fine or suspension
11    would ctrange her. Accordingly, I determine that the
L2    proper penalty in this case is termination.
13                The arbitrator   considered the specifications,
L4    the observations, the opportunity and warning that
15    petitioner had to improve her pedagogty. She was given
t6    three yearr s worth of developmental training.   The
L7    petitioner, according to the arbitrator, did not
18    improve in any appreciable manner. Moreover, the
19    arbitrator found that remediation, further training,
20    would not be successfuJ. as the petitioner believes
2L    adamantly that she needs no further improvement in her
22   pedagogry.
23                The arbitrator   found that the past
24   performance showed that she wi]-]. not remediate and had
25   not made any effort to do so not even providing lesson
26   plans for the administrators to review.
     Terry-Ann Volberg, CSR, CRR, OfficiaL Court Reporter
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 1                             Proceedings
 2                  Given that petitioner      had ample opportunity
 3        for improvement over the course of three years, that
 4        petitioner has not improved in any appreciable manner,
 5        and that remediation would not be effective given her
 6        adamant rejection that she needs improvement in the
 7        areas of pedagogy, the arbitratorrs determination and
 8        penalty of termination does not shock oners conscience,
 9        and was reasonable and rational under the
10        circumstances. Therefore, this Court denies the
11        petition and dismisses tlre proceeding.
L2                  Have a good day.
13                  Good luck in the future.
L4                  MS. MILDNER: Thank you, your Honor.
15                                 ***
16                            CERTIFICATE
L7   I, Terry-Ann Volberg, C.S.R., an official- court reporter of
18   the State of New York, do hereby certify that the foregoing
19   is a true and accurate transcript of my stenographic notes.
20

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                                         ry-     o    19,
22                                Official     Court Reporter
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         Terry-Ann Vo1berg, CSR, CRR' Official       Court Reporter
